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                      No. _______________________

          IN THE UNITED STATES COURT OF APPEALS
                  FOR THE TENTH CIRCUIT

                       ____________________________

 IN RE ANTHONY CASTILLO SANCHEZ,

                                               Movant.

                       ____________________________

                 MOTION FOR AN ORDER AUTHORIZING
                  THE FILING AND CONSIDERATION OF
               FIRST SUBSEQUENT PETITION FOR A WRIT
                          OF HABEAS CORPUS

                       ____________________________

                      This is a DEATH PENALTY CASE

           Mr. Sanchez has an execution date on September 21, 2023




 __/s/ Eric Allen__
 The Law Office of Eric J Allen, LTD
 4200 Regent, Suite 200
 Columbus, Oh 43219
 Ph: 614 443 4840
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     I.      Introduction 1

          Movant, Anthony Castillo Sanchez, moves, under 28 U.S.C. §

 2244(b)(3)(C), for an order authorizing the filing and consideration of a first

 subsequent petition for a writ of habeas corpus, which is attached at Appendix 1.

 Mr. Sanchez’s motion is grounded on the Fourteenth Amendment’s Due Process

 Clause and the Eighth Amendment’s Cruel-and-Unusual-Punishment Clause.

          This case is an actual innocence one where Mr. Sanchez’s father, Glen

 Sanchez, allowed Mr. Sanchez to be convicted and sentenced to death for a crime

 Glen 2 committed. Here, Mr. Sanchez was convicted of sodomizing, raping, and

 killing a local college student, Julie Buskin. During the pendency of the review of

 Mr. Sanchez’s conviction and sentence, Glen confessed to the murder multiple

 times. These confessions were made to his girlfriend, Charlotte Beattie, in the

 context of threatening her. Glen’s confessions carry more weight because they

 were made in the throes of blinding rage. He later committed suicide, further

 demonstrating consciousness of guilt. And Mr. Sanchez has never confessed to

 any interactions with the victim Jewell “Juli” Buskin, much less sodomizing,

 raping, and killing her.



 1
   Mr. Sanchez and his counsel do not have access to Mr. Sanchez’s files until very recently. They
 still have not taken possession of the more than 40 boxes yet. Counsel apologizes for any
 mistakes resulting from this fact.
 2
   This motion will refer to Glen Sanchez as “Glen” because he shares the same last name as
 Movant.

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    II.      Jurisdiction

          This Court has subject matter jurisdiction of this case under 28 U.S.C. §

 2254(a). Mr. Sanchez is under a judgment and sentence of death entered in

 Cleveland County, Oklahoma.

    III.     Statute of Limitations

          Mr. Sanchez’s habeas claim meets 28 U.S.C. § 2244’s statute of limitations

 because he could not have discovered the factual basis until November 2022. Ms.

 Beattie swore that she would not have shared Glen’s confessions because they

 were part of threats toward her. Glen made his confessions when threatening to do

 the same to Ms. Beattie. Ms. Beattie literally feared for her life if she shared the

 confessions.

          28 U.S.C. § 2244 allows habeas petitioners to file later than its one-year

 deadline under limited circumstances. One of those circumstances is when “the

 factual predicate of the claim or claims presented could have been discovered

 through the exercise of due diligence.” 28 U.S.C. § 2244(d)(1)(D). In that

 circumstance, the one-year deadline starts when due diligence could have

 uncovered the new facts. Ibid.

          Here, Ms. Beattie heard Glen’s confessions in the context of threatening her

 life. Ms. Beattie intended to carry those confessions with her to her grave. But then



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 Glen committed suicide. Ms. Beattie informed Mr. Sanchez’s spiritual advisor of

 Glen’s confessions in November 2022. In December 2022, an investigator working

 for that spiritual advisor spoke with Ms. Beattie and captured Glen’s confessions.

 This timeline places Mr. Sanchez firmly within the appliable statutory timeline.

 With due diligence, Mr. Sanchez could have discovered this new evidence in

 November 2022, giving him until November 2023 to file in this Court even

 without the statutory tolling while litigating state habeas corpus.

       Accordingly, Mr. Sanchez’s Petition meets 28 U.S.C. § 2244’s statute of

 limitations.

    IV.    2244 Standard

       2244 states that a claim cannot be sustained unless,

       (i) the factual predicate for the claim could not have been discovered
       previously through the exercise of due diligence; and
       (ii) the facts underlying the claim, if proven and viewed in light of the
       evidence as a whole, would be sufficient to establish by clear and convincing
       evidence that, but for constitutional error, no reasonable factfinder would
       have found the applicant guilty of the underlying offense

                                                              28 U.S.C.A 2244 (b)

       The following definition of what constitutes "clear and convincing evidence"

 is found in the Modern Federal Jury Instructions:

       Clear and convincing evidence leaves no substantial doubt in your mind. It is
       proof that establishes in your mind, not only [that] the proposition at issue is
       probable, but also that it is highly probable. It is enough if the party with the
       burden of proof establishes his claim beyond any "substantial doubt"; he
       does not have to dispel every "reasonable doubt."

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         4 L. Sand, et. al., Modern Federal Jury Instructions P73.01 at p. 73-16

 (1997).

         The "clear and convincing" standard of proof is an intermediate standard

 between the "preponderance of the evidence" standard used in most civil cases, and

 the "beyond a reasonable doubt" standard used in criminal matters. Addington v.

 Texas, 441 U.S. 418, 423-24, 99 S. Ct. 1804, 1808, 60 L. Ed. 2d 323, 329 (1979).

         Mr. Sanchez need only make a prima facie showing of the statutory

 requirements. § 2244(b)(3)(C). This court does not "engage in a preliminary merits

 assessment"; rather, the inquiry is "solely on the conditions specified in § 2244(b)

 that justify raising a new habeas claim." Ochoa v. Sirmons, 485 F.3d 538, 541

 (10th Cir. 2007). A prima facie showing has been defined as a "sufficient showing

 of possible merit to warrant a fuller exploration by the district court." Id. at 545

 (quotation omitted) (discussing Bennett v. United States, 119 F.3d 468, 469 (7th

 Cir. 1997)).

    V.      Factual History

         On December 20, 1996, the body of Ms. Busken was found near Lake

 Stanley Draper in Cleveland County, Oklahoma. (Tr. 2053-65) There was single

 gunshot wound to the back of her head. (Tr. 2190) For several years, the offense

 was considered unsolved by authorities. On July 26, 2004, an Oklahoma State

 Bureau of Investigation criminalist documented a cold hit, connecting a person in



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 the Combined DNA Index System database with the Busken homicide. That

 person was identified as Anthony Sanchez. (Tr. 2291-2304)

       Apparently, Mr. Sanchez had not been a suspect in the Busken murder

 during the seven years and seven months preceding the cold hit. Further, there was

 no evidence that Mr. Sanchez and Ms. Busken had known each other or had even

 known of one another. Nevertheless, on the strength of the DNA evidence, law

 enforcement arrested Mr. Sanchez and charged him with Capital Murder, Rape,

 and Forcible Sodomy.

       Mr. Sanchez was convicted of all three counts and sentenced to death on

 June 6, 2006, in Cleveland County District Court (Oklahoma). Mr. Sanchez sought

 direct review of his convictions and sentences to the Oklahoma Court of Criminal

 Appeals in 2008 and 2009. He filed three state-habeas applications before filing a

 fourth at the end of last year. That fourth, PCD 2023 95, is the basis of this Motion

 and associated Petition for a Writ of Habeas Corpus.

       Aside from one round of federal habeas following the first state-habeas

 litigation, this path represents Mr. Sanchez’s litigation.

    VI.    Argument

       Mr. Sanchez did not rape, sodomize, or murder Ms. Buskin. Instead, his

 father, Glen, committed the crime.




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       In circumstances like these, prisoners must be released if they can prove that

 “new facts raised sufficient doubt about [the prisoner’s] guilt to undermine

 confidence in the result of the trial . . . .” Schlup v. Delo, 513 U.S. 298, 317 (1995).

 In other words, a prisoner “does not meet the threshold requirement unless he

 persuades the [] court that, in light of the new evidence, no juror, acting

 reasonably, would have voted to find him guilty beyond a reasonable doubt.”

 McQuiggin v. Perkins, 569 U.S. 383, 386 (2013) (quoting Schlup v. Delo, 513 U.S.

 298, 329 (1995)).

       Affirmative evidence shows Glen Sanchez and not Mr. Sanchez committed

 the rape and murder. First, eyewitnesses developed a composite sketch of the

 perpetrator shortly after the murder. That sketch does not look youthful like Mr.

 Sanchez, who was merely 18-years old at the time of the murder. Furthermore, the

 sketches look incredibly like Glen Sanchez. The inescapable conclusion is that

 Glen Sanchez was the murderer. Because these witnesses identified Glen Sanchez

 as the perpetrator, Mr. Sanchez could not have been the murderer, easily

 establishing Sawyer standard. And even if this Court does not determine it does so

 alone, the evidence establishes the standard when viewed cumulatively.

       Furthermore, Glen Sanchez’s long-time live-in girlfriend, Charlotte Beattie,

 lived in terror of Glen. He beat and tortured her. Often, when Glen mistreated Ms.

 Beattie, he would threaten her to ensure her silence. Those threats consisted of



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 telling her that he would kill and rape her like he did to the victim, Ms. Jewell

 Buskin. These confessions are simply overwhelming evidence of actual innocence.

 Standing alone, no reasonable juror would convict Mr. Sanchez knowing that his

 father confessed to the murder. And even if this Court determines this evidence is

 insufficient alone, it certainly satisfies the Sawyer standard when viewed

 cumulatively with the other evidence in this Application.

       Not only does Mr. Sanchez present overwhelming evidence that he is an

 innocent man, but the State also provided many holes in its case, showing that it

 got the wrong man. First, law enforcement collected 49 unknown fingerprints from

 Ms. Buskin’s vehicle. This vehicle was the one in which the perpetrator

 transported Ms. Buskin to the murder scene. Given their placement, the

 inescapable conclusion is that the prints belonged to the perpetrator. And Mr.

 Sanchez’s fingerprints did not match any of the prints – absolutely none. Second,

 law enforcement collected numerous hairs from incriminating places. Mr.

 Sanchez’s hair did not match any of these hairs. Finally, law enforcement did not

 compare Glen Sanchez’s fingerprints or hair to these critical pieces of evidence.

       The DNA samples that purportedly match Mr. Sanchez do not overcome the

 evidence here. DNA is just another form of evidence. It is not infallible; it is not

 insurmountable. United States v. Bonner, 648 F.3d 209, 212 (4th Cir. 2011). See




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 O'Laughlin v. O'Brien, 568 F.3d 287, 294-95 (1st Cir. 2009) (connection between

 defendant and item found at crime scene not sufficient to establish guilt alone).

       The balance of the evidence weighs heavily in Mr. Sanchez’s favor. As

 discussed above, the State’s case against him was skimpy. The evidence not

 presented spoke volumes. The only persuasive evidence was a DNA match. The

 voluminous evidence supporting Mr. Sanchez’s position greatly outweighs the

 DNA in this case.

       The physical evidence that is lacking supports the claim that the DNA means

 that Mr. Sanchez was the murderer. First, there are absolutely no fingerprints that

 match Mr. Sanchez in the car or on anything found in the car. It seems unlikely

 that Mr. Sanchez kidnapped the victim, drove her to this secluded area, killed her,

 got back in the car, and left no fingerprints. Second, there is hair evidence found at

 the crime scene that does not match Mr. Sanchez. Third, the eyewitness does not

 describe Mr. Sanchez. The state may argue the fallibility of such identification,

 but this eyewitness saw what he saw. Fourth, Glenn Sanchez confessed to killing

 the victim in this case. A jury can look at the evidence and acquit Mr. Sanchez.

       The evidence that was found since the trial and since the end of the habeas

 proceedings require that this court grant this application. Mr. Sanchez is innocent

 of the charges against him and innocent of the crimes of capital murder. If the




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 courts and political figures in Oklahoma can step in for Glossip and Jones, they

 certainly can step in for Mr. Sanchez.

    VII. CONCLUSION

       Movant requests that this court grant the request to motion to allow the

 successor to proceed under 28 U.S.C.A 2244. Movant has made the requisite

 showing that no jury would find him guilty of the underlying client. His father had

 come to the Oklahoma State Penitentiary to visit him and said goodbye, knowing

 he had committed this murder. He confessed to others he committed this murder.

 He committed suicide because of this murder.


 Respectfully submitted,


 __/s/ Eric Allen__
 Eric Allen
 The Law of Eric Allen, LTD
 4200 Regent, Suite 200
 Columbus, Oh 43219
 Ph: 614 443 4840




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                  CERTIFICATE OF DIGITAL SUBMISSION

 I hereby certify that with respect to this Application:

 (1) all required privacy redactions have been made pursuant to 10th Cir. R. 25.5.

 (2) if required to file additional hardcopies, that this submission is an exact copy
 of those documents; and

 (3) this digital submission has been scanned for viruses with the most recent
 version of ___________, Version ___, and according to the
 program, this Application is free of viruses.

                                                   __/s/ Eric Allen__
                                                   Eric Allen




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                          CERTIFICATE OF SERVICE

       I certify that on September 17, 2023, I electronically filed the foregoing

 motion with the Clerk of Court for the U.S. Court of Appeals for the Tenth Circuit

 through the appellate CM/ECF system. I certify that, to my knowledge, all

 participants in the case are registered CM/ECF users and that service will be

 accomplished by the appellate CM/ECF system.

                                                     __/s/ Eric Allen__




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                IN THE UNITED STATES DISTRICT COURT
                   WESTERN DISTRICT OF OKLAHOMA

 ANTHONY CASTILLO SANCHEZ, Case No.:
                                           District Court Judge Heaton
 Oklahoma State Penitentiary
 1301 N. West St                           District Court Magistrate
 McAlister, OK 74501
                                           EVIDENTIARY HEARING
 Petitioner,
                                           REQUESTED
       VS.
                                           DISCOVERY REQUESTED
 CHRISTIE QUICK, WARDEN,
 Oklahoma State Penitentiary
 1301 N. West St.
 McAlister, OK 74501
 Respondent,

            PETITION UNDER 28 USC § 2254 FOR WRIT OF
          HABEAS CORPUS BY A PERSON IN STATE CUSTODY

  THIS IS A CAPITAL CASE WITH EXECUTION SET FOR SEPTEMBER
                            21, 2023

                                     I. Parties

       1. Petitioner, Anthony Castillo Sanchez, is currently under sentence of

          death at the Oklahoma State Penitentiary. He is scheduled to be executed

          on September 21, 2023.

       2. Respondent is the warden of the Oklahoma State Penitentiary. The

          warden is represented in these proceedings by the Attorney General,

          Gentner Drummond, 313 21st St, Oklahoma City, Ok 73105.



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                               Custody of Petitioner

       3. Petitioner is being held by the state of Oklahoma under the sentence of

          death at the Oklahoma State Penitentiary in McAlister, Oklahoma, where

          the Respondent is the warden.

                                   II. Jurisdiction

       4. The United States District Court has jurisdiction over this petition for a

          writ of habeas corpus pursuant to 28 U.S.C. §§ 2254 and 1331. Petitioner

          is in custody pursuant to judgment of an Oklahoma state court and seeks

          relief on the ground that his imprisonment and death sentence are in

          violation of his rights under the United States Constitution.

                                     III. Venue

       5. Venue is proper in the United States District Court for the Western

          District of Oklahoma, because Petitioner's conviction was obtained in

          the Cleveland County Circuit Court in Norman, Oklahoma. See 28

          U.S.C. § 2241(d).

                        IV. Procedural History of the case:
                              Statement of the Facts

       6. On December 20, 1996, the body of Ms. Busken was found near Lake

          Stanley Draper in Cleveland County, Oklahoma. (Tr. 2053-65) There was

          a single gunshot wound to the back of her head. (Tr. 2190) For several



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          years, the offense was considered unsolved by authorities. On July 26,

          2004, an Oklahoma State Bureau of Investigation criminalist documented

          a cold hit, connecting a person in the Combined DNA Index System

          database with the Busken homicide. That person was identified as

          Anthony Sanchez. (Tr. 2291-2304)

       7. Apparently, Mr. Sanchez had not been a suspect in the Busken murder

          during the seven years and seven months preceding the cold hit. Further,

          there was no evidence that Mr. Sanchez and Ms. Busken had known each

          other or had even known one another. Nevertheless, on the strength of the

          DNA evidence, law enforcement arrested Mr. Sanchez and charged him

          with Capital Murder, Rape, and Forcible Sodomy.

       8. Mr. Sanchez was convicted of all three counts and sentenced to death on

          June 6, 2006, in Cleveland County District Court (Oklahoma). Mr.

          Sanchez sought direct review of his convictions and sentences to the

          Oklahoma Court of Criminal Appeals in 2008 and 2009. He filed three

          state-habeas applications before filing a fourth at the end of last year.

          That fourth, PCD 2023 95, is the basis of this Motion and associated

          Petition for a Writ of Habeas Corpus.

       9. Aside from one round of federal habeas following the first state-habeas

          litigation, this path represents Mr. Sanchez’s litigation.



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                                    Statement of the Case

       10. Anthony Castillo Sanchez, Appellant, was tried by jury and found guilty

          of Count 1, murder in the first degree, in violation of 21 O.S.Supp.1996,

          § 701.7(A); Count 2, rape in the first degree, in violation of 21 O.S.1991,

          § 1114(A)(3); and Count 3, forcible sodomy, in violation of 21

          O.S.Supp.1992, § 888(B)(3), in Cleveland County District Court, Case

          No. CF-2000-325.1 The State alleged the murder involved three statutory

          aggravating circumstances: The murder was especially heinous,

          atrocious, or cruel; the murder was committed for the purpose of

          avoiding or preventing a lawful arrest or prosecution; and the existence

          of a probability that Appellant would commit criminal acts of violence

          that would constitute a continuing threat to society. 21 O.S.1991, §

          701.12(4), (5), and (7). The jury found all three aggravating

          circumstances and sentenced Appellant to death for murder in the first

          degree, forty (40) years imprisonment and a $10,000 fine for rape in the

          first degree, and twenty (20) years imprisonment and a $10,000 fine for

          forcible sodomy. The Honorable William C. Hetherington, District

          Judge, presided over the trial and pronounced the judgment and sentence

          on June 6, 2006. The Court of Criminal Appeals affirmed the conviction




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           and death sentence on the direct appeal on December 14, 2009. Sanchez

           V State, 2009 OK CR 31, 223 P.3d 980. Cert Denied.

       11. Petitioner presented in his first habeas petition twelve grounds for relief.

           Respondent responded to the petition and petitioner has replied. Docs.

           25, 31, 33, and 41. In addition to his petition, the petitioner filed motions

           for the appointment of an investigator, discovery, and an evidentiary

           hearing. Docs. 16, 24, and 32. All these motions have previously been

           denied. Docs. 20, 42, and 43. After a thorough review of the entire state

           court record (which respondent has provided), the pleadings filed in this

           case, and the applicable law, the district court concluded that petitioner is

           not entitled to habeas relief. The court further found that a certificate of

           appealability was not warranted.

       12. The Tenth Circuit further denied a certificate of appealability. Sanchez v.

           Warrior, 636 Fed. Appx. 971. , US Supreme Court certiorari denied by

           Sanchez v. Duckworth, 2016 U.S. LEXIS 4841 (U.S., Oct. 3, 2016)

       13. An execution date was set for September 21, 2023.

           Other Motions:

     No other motions have been filed in state or federal court other than the litigation
 previously mentioned on behalf of the petitioner. . Petitioner, of course, reserves
 the right to do so in either state court or federal court.



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                                       V. Grounds for Relief
                           Ground Number One
           NEWLY DISCOVERED EVIDENCE ESTABLISHES AND/OR
       PROVIDES A REASONABLE LIKELIHOOD OF AN EVIDENTIARY
     HEARING ESTABLISHING THAT MR. SHANCHEZ WOULD NOT HAVE
      BEEN CONVICTED, AND WOULD NOT HAVE RECEIVED A DEATH
     SENTENCE IF ALL EVIDENCE POINTING TOWARD THE GUILTY OF
       THOMAS GLEN SANCHEZ , PETITIONER’S FATHER HAD BEEN
                        KNOWN TO THE JURY

        14. Movant, Anthony Castillo Sanchez, moves, under 28 U.S.C. §

           2244(b)(3)(C), for an order authorizing the filing and consideration of a

           first subsequent petition for a writ of habeas corpus, which is attached at

           Appendix 1. Mr. Sanchez’s motion is grounded in the Fourteenth

           Amendment’s Due Process Clause and the Eighth Amendment’s Cruel-

           and-Unusual-Punishment Clause.

        15. This case is an actual innocence one where Mr. Sanchez’s father, Glen

           Sanchez, allowed Mr. Sanchez to be convicted and sentenced to death for

           a crime Glen 1 committed. Here, Mr. Sanchez was convicted of

           sodomizing, raping, and killing a local college student, Julie Buskin.

           During the pendency of the review of Mr. Sanchez’s conviction and

           sentence, Glen confessed to the murder multiple times. These confessions

           were made to his girlfriend, Charlotte Beattie, in the context of


 1
  This motion will refer to Glen Sanchez as “Glen” because he shares the same last name as
 Movant.


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          threatening her. Glen’s confessions carry more weight because they were

          made in the throes of blinding rage. And Mr. Sanchez has never

          confessed to any interactions with the victim Jewell “Juli” Buskin, much

          less sodomizing, raping, and killing her.

                    CONSTITUTIONAL LEGAL STANDARD

       16. To show "actual innocence" one must show by clear and convincing

          evidence that, but for a constitutional error, no reasonable juror would

          have found the petitioner eligible for the death penalty under the

          applicable state law. Sawyer v Whitley, 505 U.S. 333, in the syllabus.

       17. Justice White found in Hererra v Collins, in voting to affirm, I assume

          that a persuasive showing of "actual innocence" made after trial, even

          though made after the expiration of the time provided by law for the

          presentation of newly discovered evidence, would render unconstitutional

          the execution of petitioner in this case. To be entitled to relief, however,

          petitioner would at the very least be required to show that based on

          proffered newly discovered evidence and the entire record before the jury

          that convicted him, "no rational trier of fact could [find] proof of guilt

          beyond a reasonable doubt." Jackson v. Virginia, 443 U.S. 307, 324, 61

          L. Ed. 2d 560, 99 S. Ct. 2781 (1979).” Herrera v Collins, 506 U.S. 390,

          429.



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             OKLAHOMA COURT OF CRIMINAL APPEALS STANDARD.

       18. The Oklahoma Court of Criminal Appeals failed to state a constitutional

             standard it was employing in denying the petition.

                OKLAHOMA COURT OF CRIMINAL APPEALS ANALYSIS

       19. The Court of Criminal Appeals found,” We conclude that Glen

             Sanchez’s confessions, even if proven to have been made to Charlotte

             Beattie, when viewed considering the evidence do not establish by clear

             and convincing evidence that, but for this new information no reasonable

             fact finder would have found Anthony Sanchez guilty of Juli Busken’s

             murder or rendered the penalty of death. “




  FIFTH DISTRICT COURT’S ANALYSIS IS UNREASONABLE

       20.      Habeas relief under 28 U.S.C.S. § 2254(d)(1) is limited to cases where

                there are no possibility fair minded jurists could disagree that the state

                court's decision conflicts with the U.S. Supreme Court's precedents. In

                determining this, a habeas court must determine what arguments or

                theories supported or could have supported, the state court's decision;

                and then it must ask whether it is possible fair-minded jurists could

                disagree that those arguments or theories are inconsistent with the



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             holding in a prior decision of the Supreme Court. Triplett v. Hudson,

             2011 U.S. Dist. LEXIS 2760, in the headnotes. habeas relief is

             available only "where there is no possibility fair-minded jurists could

             disagree that the state court's decision conflicts with [the Supreme]

             Court's precedents." Harrington, 131 S. Ct. at 786. A federal court

             "may not issue the writ simply because that court concludes in its

             independent judgment that the relevant state-court decision applied

             clearly established federal law erroneously or incorrectly." Williams,

             529 U.S. at 411. Rather, to justify issuance of a writ, the state court's

             application of "clearly established" Supreme Court authority must be

             "objectively unreasonable." Id. at 409.

       21.   Mr. Sanchez did not rape, sodomize, or murder Ms. Buskin. Instead,

             his father, Glen, committed the crime. In circumstances like these,

             prisoners must be released if they can prove that “new facts raised

             sufficient doubt about [the prisoner’s] guilt to undermine confidence

             in the result of the trial . . . .” Schlup v. Delo, 513 U.S. 298, 317

             (1995). In other words, a prisoner “does not meet the threshold

             requirement unless he persuades the [] court that, in light of the new

             evidence, no juror, acting reasonably, would have voted to find him




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             guilty beyond a reasonable doubt.” McQuiggin v. Perkins, 569 U.S.

             383, 386 (2013) (quoting Schlup v. Delo, 513 U.S. 298, 329 (1995)).

       22.   Affirmative evidence shows Glen Sanchez and not Mr. Sanchez

             committed the rape and murder. First, eyewitnesses developed a

             composite sketch of the perpetrator shortly after the murder. That

             sketch does not look youthful like Mr. Sanchez, who was merely 18-

             years old at the time of the murder. Furthermore, the sketches look

             incredibly like Glen Sanchez. The inescapable conclusion is that Glen

             Sanchez was the murderer. Because these witnesses identified Glen

             Sanchez as the perpetrator, Mr. Sanchez could not have been the

             murderer, easily establishing Sawyer standard. And even if this Court

             does not determine it does so alone, the evidence establishes the

             standard when viewed cumulatively.

       23.   Furthermore, Glen Sanchez’s long-time live-in girlfriend, Charlotte

             Beattie, lived in terror of Glen. He beat and tortured her. Often, when

             Glen mistreated Ms. Beattie, he would threaten her to ensure her

             silence. Those threats consisted of telling her that he would kill and

             rape her like he did to the victim, Ms. Jewell Buskin. These

             confessions are simply overwhelming evidence of actual innocence.

             Standing alone, no reasonable juror would convict Mr. Sanchez



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             knowing that his father confessed to the murder. And even if this

             Court determines this evidence is insufficient alone, it certainly

             satisfies the Sawyer standard when viewed cumulatively with the

             other evidence in this Application.

             Not only does Mr. Sanchez present overwhelming evidence that he is

             an innocent man, but the State also provided many holes in its case,

             showing that it got the wrong man. First, law enforcement collected

             49 unknown fingerprints from Ms. Buskin’s vehicle. This vehicle was

             the one in which the perpetrator transported Ms. Buskin to the murder

             scene. Given their placement, the inescapable conclusion is that the

             prints belonged to the perpetrator. And Mr. Sanchez’s fingerprints did

             not match any of the prints – absolutely none. Second, law

             enforcement collected numerous hairs from incriminating places. Mr.

             Sanchez’s hair did not match any of these hairs. Finally, law

             enforcement did not compare Glen Sanchez’s fingerprints or hair to

             these critical pieces of evidence.

             The DNA samples that purportedly match Mr. Sanchez do not

             overcome the evidence here. DNA is just another form of evidence. It

             is not infallible; it is not insurmountable. United States v. Bonner, 648

             F.3d 209, 212 (4th Cir. 2011). See O'Laughlin v. O'Brien, 568 F.3d



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             287, 294-95 (1st Cir. 2009) (connection between defendant and item

             found at crime scene not sufficient to establish guilt alone).

       24.   The balance of the evidence weighs heavily in Mr. Sanchez’s favor.

             As discussed above, the State’s case against him was skimpy. The

             evidence not presented spoke volumes. The only persuasive evidence

             was a DNA match. The voluminous evidence supporting Mr.

             Sanchez’s position greatly outweighs the DNA in this case.

       25.   The physical evidence that is lacking supports the claim that the DNA

             means that Mr. Sanchez was the murderer. First, there are absolutely

             no fingerprints that match Mr. Sanchez in the car or on anything

             found in the car. It seems unlikely that Mr. Sanchez kidnapped the

             victim, drove her to this secluded area, killed her, got back in the car,

             and left no fingerprints. Second, there is hair evidence found at the

             crime scene that does not match Mr. Sanchez. Third, the eyewitness

             does not describe Mr. Sanchez. The state may argue the fallibility of

             such identification, but this eyewitness saw what he saw. Fourth,

             Glenn Sanchez confessed to killing the victim in this case. A jury

             would look at the evidence and acquit Mr. Sanchez.

       26.   The evidence that was found since the trial and since the end of the

             habeas proceedings require that this court grant this application. Mr.



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             Sanchez is innocent of the charges against him and innocent of the

             crimes of capital murder. If the courts and political figures in

             Oklahoma can step in for Glossip and Jones, they certainly can step in

             for Mr. Sanchez.

                                   VI. Exhaustion

       24.   As a rule, state prisoners must first exhaust their available state court

             remedies before seeking federal habeas corpus relief by fairly

             presenting all their grounds for relief to the state courts. 28 U.S.C. §

             2254(b)-(c); Clemmons v. Sowders, 34 F.3d 352, 354 (6th Cir.1994).

             Normally, the exhaustion requirement is satisfied after the petitioner

             fairly presents all his issues to the highest court in the state in which

             the petitioner was convicted, thus giving the state a full and fair

             opportunity to rule on them before seeking relief in federal court. Rust

             v. Zent, 17 F.3d 155, 160 (6th Cir.1994).All grounds for relief raised

             in this petition for a writ of habeas corpus have previously been

             presented to the Ohio State Courts.

       25.   Petitioner has raised this issue in his fourth post-conviction petition

             raised before the Oklahoma Court of Criminal Appeals on February 3,

             2023. That court ruled on the merits and denied the same by opinion

             on April 13 ,2023. Sanchez v State,



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                 VII. ADEPA One Year Statute of Limitations

       25.   Pursuant to ADEPA, a state prisoner claiming imprisonment in

             violation of the laws or Constitution of the United States has one year

             from the completion of direct review of his case to file for federal

             habeas relief. See 28 U.S.C. § 2244(d) (1).The time period in which

             the defendant seeks state post-conviction review of his conviction

             tolls the statute of limitations for purposes of AEDPA. 28 U.S.C. §

             2244(d)(2). This petition has been brought within the one-year statute

             of limitations as required by ADEPA.

       26.   Mr. Sanchez’s habeas claim meets 28 U.S.C. § 2244’s statute of

             limitations because he could not have discovered the factual basis

             until November 2022. Ms. Beattie swore that she would not share

             Glen’s confessions because they were part of threats toward her. Glen

             made his confessions when threatening to do the same to Ms. Beattie.

             Ms. Beattie literally feared for her life if she shared the confessions.

       27.   28 U.S.C. § 2244 allows habeas petitioners to file later than its one-

             year deadline under limited circumstances. One of those

             circumstances is when “the factual predicate of the claim or claims

             presented could have been discovered through the exercise of due

             diligence.” 28 U.S.C. § 2244(d)(1)(D). In that circumstance, the one-



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             year deadline starts when due diligence could have uncovered the new

             facts. Ibid. Here, Ms. Beattie heard Glen’s confessions in the context

             of threatening her life. Ms. Beattie intended to carry those confessions

             with her to her grave. But then Glen committed suicide. Ms. Beattie

             informed Mr. Sanchez’s spiritual advisor of Glen’s confessions in

             November 2022. In December 2022, an investigator working for that

             spiritual advisor spoke with Ms. Beattie and captured Glen’s

             confessions. This timeline places Mr. Sanchez firmly within the

             appliable statutory timeline. With due diligence, Mr. Sanchez could

             have discovered this new evidence in November 2022, giving him

             until November 2023 to file in this Court even without the statutory

             tolling while litigating state habeas corpus.

             Accordingly, Mr. Sanchez’s Petition meets 28 U.S.C. § 2244’s statute

             of limitations.

                           VIII. PRAYER FOR RELIEF

       WHEREFORE, the petitioner prays for:


       1. Issue a writ of habeas corpus to have Petitioner brought before the court

          to the end that he may be discharged from his unconstitutional

          conviction.




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       2. Require Respondent to bring forward the entire record of the state court

          proceedings, and to specify any proceeding in the case that has been

          reported but not transcribed.

       3. Require Respondent to file an answer admitting or denying each factual

          allegation herein.

       4. Allow Petitioner to conduct discovery and to expand the record relating

          to the issues raised by this Petition.

       5. Conduct a hearing at which proof may be offered concerning the

          allegations in this petition that Respondent does not admit.

       6. Allow Petitioner sufficient time to brief the issues of law raised by this

          petition; and

       7. Grant such other and further relief as may be appropriate.




                                                   Respectfully submitted,



                                                   /s/ Eric Allen

                                                   ______________________________
                                                   ERIC J ALLEN           (0073384)
                                                   4200 Regent, Suite 200


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                                            Columbus, Oh 43219
                                            Tele No. 614.443.4840
                                            Fax No. 614.445.7873




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                     UNITED STATES COURT OF APPEALS FOR THE TENTH CIRCUIT
                                Byron White United States Courthouse
                                          1823 Stout Street
                                      Denver, Colorado 80257
                                           (303) 844-3157
                                      Clerk@ca10.uscourts.gov
 Christopher M. Wolpert                                                         Jane K. Castro
 Clerk of Court                                                             Chief Deputy Clerk
                                      September 17, 2023


  Eric J. Allen
  Law Office of Eric J Allen
  4200 Regent Street, Suite 200
  Columbus, OH 43219

  RE:       23-6137, In re: Sanchez
            Dist/Ag docket: 5:10-CV-01171-HE

 Dear Counsel:

 The court has docketed your petition for permission to file a second or successive habeas
 petition under 28 U.S.C. 2254. Please note the case number above. You will be notified
 as soon as the court takes action on this matter.

 Please contact this office if you have questions.

                                               Sincerely,



                                               Christopher M. Wolpert
                                               Clerk of Court



  cc:       Jennifer L. Crabb
            Joshua Fanelli



  CMW/psj
